Amy Mitchell, Trustee
P.O. Box 2289
Lake Oswego, OR 97035
(503) 675-9955
(503) 675-9977 fax
mitchelltrustee@comcast.net




                      IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF OREGON



In re
        Elbert Garboden                             Case No. 15-35133-rld7
        Sherry Garboden
                                                    SECOND SUPPLEMENTAL
                                                    CERTIFICATE OF SERVICE
Debtors                                             [Re: Trustee’s Motion to Settle and
                                                    Compromise and Order Thereon
                                                    (Doc. 21) and Notice of Hearing (Doc. 21-1)]



        I certify that I have caused the Trustee’s Motion to Settle and Compromise and Order and

Notice Thereon (Doc. 21) and Notice of Telephone Hearing (Doc. 21-1) entered on February 9,

2016, to be served on all remaining potential lienholders of the property subject to the settlement

notice (including lienholders identified on the Debtors’ schedules and the lienholders as listed on

the deeds of trust in the real property records of the respective counties):

                             By Certified Mail [(per FRBP 7004(h)]

       Bank of New York Mellon, Gerald Hassell, CEO, 225 Liberty St., New York, NY 10286

DATED: February 29, 2016

                               _/s/ Amy Mitchell_____________________
                               Amy Mitchell, Trustee



SECOND SUPPLEMENTAL CERTIFICATE OF SERVICE – PAGE 1 OF 1

                        Case 15-35133-rld7        Doc 33     Filed 03/03/16
